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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF FLORIDA ,
                           WEST PALM BEACH

  COMPREHENSIVE HEALTH CARE                     )
  SYSTEMS, INC., a Florida Corporation,         )
  individually and as the representative of a   )
  class of similarly-situated persons,          )
                                                )
                            Plaintiff,          )
                                                ) Case No. 80888
               v.                               )
                                                )
  FLORIDA PIP LAW FIRM, P.A., and               )
  JOHN DOES 1-12                                )
                                                )
                            Defendants.         )
                                                )

                           CLASS ACTION COMPLAINT

        Plaintiff, Comprehensive Health Care Systems, Inc. (“Comprehensive”),

  brings this action on behalf of itself and all other persons similarly situated and,

  except for those allegations pertaining to Plaintiff or its attorneys, which are based

  upon personal knowledge, alleges the following upon information and belief against

  defendants Florida PIP Law Firm, P.A., a/k/a Florida P.I.P. Law Firm, (“PIP”), and

  John Does 1-12 (collectively “Defendants”):

                           PRELIMINARY STATEMENT

        1.     Defendants have sent advertisements by facsimile in violation of the

  Telephone Consumer Protection Act, 47 U.S.C. § 227, and the regulations the

  Federal Communications Commission (“FCC”) has prescribed thereunder, 47 C.F.R.

  § 64.1200 (collectively, the “TCPA”).

        2.     Defendants sent Plaintiff at least two advertisements by facsimile and
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  in violation of the TCPA. Exhibit A and Exhibit B.

        3.     Plaintiff brings this action on behalf of itself and a class of all

  similarly-situated persons, and against Defendants, seeking statutory damages for

  each violation of the TCPA, trebling of the statutory damages, injunctive relief,

  compensation and attorney fees (under the conversion count), and all other relief

  the Court deems appropriate under the circumstances.

        4.     Unsolicited faxes cause damage to their recipients. A junk fax recipient

  loses the use of its fax machine, paper, and ink toner. Unsolicited faxes tie up the

  telephone lines, prevent fax machines from receiving authorized faxes, prevent their

  use for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax

  machines, and require additional labor to attempt to discern the source and purpose

  of the unsolicited message. Moreover, a junk fax interrupts the recipient’s privacy.

  An unsolicited fax wastes the recipient’s valuable time that would have been spent

  on something else.

                    PARTIES, JURISDICTION, AND VENUE

        5.     Plaintiff is a Florida corporation with its principal place of business in

  West Palm Beach, Florida.

        6.     On information and belief, PIP is a Florida corporation with its

  principal place of business in Boca Raton, Florida.

        7.     PIP also does business out of an office located in Southfield, Michigan.

        8.     John Doe Defendants 1-12 are persons yet unknown to Plaintiff that

  actively participated in the transmission of fax advertisements to the class, or




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  benefitted from those transmissions.

        9.     The Court has subject matter jurisdiction under 28 U.S.C. § 1331 and

  47 U.S.C. § 227.

        10.    Personal jurisdiction exists over Defendants in Florida because

  Defendants have transacted business and committed tortious acts within the State.

        11.    Venue is proper in the Southern District of Florida, West Palm Beach

  because Defendants committed statutory torts within this District and a significant

  portion of the events took place here.

                                           FACTS

        12.    Defendants sent advertisements by facsimile to Plaintiff and a class of

  similarly-situated persons. Whether Defendants did so directly or with the

  assistance of a third party (yet unknown to Plaintiff), Defendants are directly liable

  for violating the TCPA.

        13.    Plaintiff has received at least two of Defendants’ advertisements by

  facsimile. True and correct copies of the faxes received in October 2015 and January

  2016 are attached as Exhibit A and Exhibit B. Plaintiff intends to discover the

  number of other Defendants’ advertisements sent to Plaintiff by fax.

        14.    Exhibit A and Exhibit B are each a one-page document Defendants

  sent by fax advertising personal injury seminars. The faxes advertise the

  commercial availability or quality of property, goods, or services. The faxes provide

  information about the availability of seminars offered by PIP, and methods for

  contacting PIP to attend the seminars. The faxes provide information about the




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  quality     of     PIP’s    services   by    promoting     PIP’s    web    site   address,

  www. We Set The Standards .com.

        15.        Exhibit A and Exhibit B include PIP’s name and contact information.

        16.        Exhibit A and Exhibit B do not include the mandatory opt-out notice

  required by 47 C.F.R. § 64.1200 (a) (4).

        17.        Plaintiff did not expressly invite or give permission to anyone to send

  Exhibit A and Exhibit B or any other advertisement from PIP to Plaintiff’s fax

  machine.

        18.        On information and belief, Defendants sent advertisements by

  facsimile to Plaintiff and more than 39 other persons in violation of the TCPA.

        19.        Plaintiff and the other class members owe no obligation to protect their

  fax machines from Defendants. Their fax machines are ready to send and receive

  their urgent communications, or private communications about patients’ medical

  needs, not to receive Defendants’ unlawful advertisements.

                             CLASS ACTION ALLEGATIONS

        20.        Plaintiff brings this action as a class action on behalf of itself and all

  others similarly situated as members of a class, initially defined as follows:

        Each person that was sent one or more telephone facsimile messages
        promoting the commercial availability or quality of property, goods, or
        services offered by “PIP,” but not stating on its first page that the
        recipient may make a request to the sender not to send any future ads
        and that failure to comply with such a request within 30 days is
        unlawful.

  Plaintiff expressly reserves the right to modify the proposed class definition or

  propose subclasses.



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        21.    Excluded from the class are Defendants, any entity in which

  Defendants have a controlling interest, each of Defendants’ officers, directors, legal

  representatives, heirs, successors, and assigns, and any Judge assigned to this

  action, including his or her immediate family.

        22.    On information and belief, Defendants’ fax advertising campaigns

  involved other, substantially-similar advertisements also sent without the opt-out

  notice required by the TCPA. Plaintiff intends to locate those advertisements in

  discovery.

        23.    This action is brought and may properly be maintained as a class

  action pursuant to Fed. R. Civ. P. 23. This action satisfies Rule 23 (a)’s numerosity,

  commonality, typicality, and adequacy requirements. Additionally, prosecution of

  Plaintiff’s claims separately from the putative class’s claims would create a risk of

  inconsistent or varying adjudications under Rule 23 (b) (1) (A). Furthermore, the

  questions of law or fact that are common in this action predominate over any

  individual questions of law or fact making class representation the superior method

  to adjudicate this controversy under Rule 23 (b) (3).

        24.    Numerosity/impracticality of joinder. On information and belief, the

  class consists of more than 39 persons and, thus, is so numerous that individual

  joinder of each member is impracticable. The precise number of class members and

  their identities are unknown to Plaintiff, but will be obtained from Defendants’

  records or the records of third parties.

        25.    Commonality and predominance. There is a well-defined community of




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  interest and common questions of law and fact that predominate over any questions

  affecting only individual members of the class. These common legal and factual

  questions, which do not vary from one class member to another, and which may be

  determined without reference to the individual circumstances of any class member,

  include, but are not limited to the following:

               a.     Whether     Defendants       sent   advertisements   by   facsimile

        promoting the commercial availability or quality of property, goods, or

        services;

               b.     Whether Exhibit A, Exhibit B, and other yet-to-be-discovered

        facsimiles sent by or on behalf of Defendants advertised the commercial

        availability or quality of property, goods or services;

               c.     The manner and method Defendants used to compile or obtain

        the list(s) of fax numbers to which they sent the faxes contained in Exhibit A,

        Exhibit B, and other fax advertisements;

               d.     Whether Defendants’ fax advertisements contained opt-out

        notices compliant with the TCPA;

               e.     Whether Plaintiff and the other class members should be

        awarded statutory damages;

               f.     If the Court finds that Defendant(s) willfully or knowingly

        violated the TCPA, whether the Court should exercise its discretion to

        increase the amount of the statutory damages award to an amount equal to

        not more than 3 times the amount;




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               g.     Whether the Court should enjoin Defendants from faxing

        advertisements in the future; and

               h.     Whether Defendants’ conduct as alleged herein constituted

        conversion.

        26.    Typicality of claims. Plaintiff’s claims are typical of the claims of the

  other class members, because Plaintiff and all class members were injured by the

  same wrongful practices. Plaintiff and the members of the class received

  Defendants’ advertisements by facsimile and those advertisements did not contain

  the opt-out notice required by the TCPA. Under the facts of this case, because the

  focus is upon Defendants’ conduct, if Plaintiff prevails on its claims, then the other

  putative class members will prevail as well.

        27.    Adequacy of representation. Plaintiff is an adequate representative of

  the class because its interests do not conflict with the interests of the class it seeks

  to represent. Plaintiff has retained counsel competent and experienced in complex

  class action litigation, and TCPA litigation in particular, and Plaintiff intends to

  vigorously prosecute this action. Plaintiff and its counsel will fairly and adequately

  protect the interest of members of the class.

        28.    Prosecution of separate claims would yield inconsistent results. Even

  though the questions of fact and law in this action are predominantly common to

  Plaintiff and the putative class members, separate adjudication of each class

  member’s claims would yield inconsistent and varying adjudications. Such

  inconsistent rulings would create incompatible standards for Defendants to operate




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  under if/when class members bring additional lawsuits concerning the same

  unsolicited fax advertisements of if Defendants choose to advertise by fax again in

  the future.

        29.       A class action is the superior method of adjudicating the common

  questions of law or fact that predominate over individual questions. A class action is

  superior to other available methods for the fair and efficient adjudication of this

  lawsuit, because individual litigation of the claims of all class members is

  economically unfeasible and procedurally impracticable. The likelihood of individual

  class members prosecuting separate claims is remote, and even if every class

  member could afford individual litigation, the court system would be unduly

  burdened by individual litigation of such cases. Plaintiff knows of no difficulty to be

  encountered in the management of this action that would preclude its maintenance

  as a class action. Relief concerning Plaintiff’s rights under the laws herein alleged

  and with respect to the class would be proper. Plaintiff envisions no difficulty in the

  management of this action as a class action.

                          COUNT I
        TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227

        30.       Plaintiff incorporates the preceding paragraphs as though fully set

  forth herein.

        31.       Plaintiff brings Count I on behalf of itself and a class of similarly

  situated persons against Defendants.

        32.       The TCPA prohibits the “use of any telephone facsimile machine,

  computer or other device to send an unsolicited advertisement to a telephone



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  facsimile machine….” 47 U.S.C. § 227 (b) (1).

        33.    The TCPA defines “unsolicited advertisement” as “any material

  advertising the commercial availability or quality of any property, goods, or services

  which is transmitted to any person without that person’s express invitation or

  permission.” 47 U.S.C. § 227 (a) (4).

        34.    The TCPA provides a private right of action as follows:

                      3.     Private right of action. A person may, if
               otherwise permitted by the laws or rules of court of a
               state, bring in an appropriate court of that state:

                            (A)    An action based on a violation of this
                      subsection or the regulations prescribed under this
                      subsection to enjoin such violation,

                             (B)     An action to recover for actual
                      monetary loss from such a violation, or to receive
                      $500 in damages for each such violation, whichever
                      is greater, or

                             (C)    Both such actions.

  47 U.S.C. § 227 (b) (3).

        35.    The Court, in its discretion, may treble the statutory damages if it

  determines that a violation was knowing or willful. 47 U.S.C. § 227 (b) (3).

        36.    Here, Defendants violated 47 U.S.C. § 227 (b) (1) (C) by sending an

  advertisement by facsimile (such as Exhibit A) to Plaintiff and the other class

  members without their prior express invitation or permission.

        37.    The TCPA requires that every advertisement sent by facsimile must

  include an opt-out notice clearly and conspicuously displayed on the bottom of its

  first page. 47 C.F.R. § 64.1200 (a) (4).



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          38.       Defendants failed to include a clear and conspicuous opt-out notice on

   Exhibit A and Exhibit B.

          39.       Exhibit A and Exhibit B do not provide any of the information the

   TCPA requires for a compliant opt-out notice. For example, Exhibit A fails to state

   on the advertisement’s first page that the recipient may make a request to the

   sender not to send any future advertisement by facsimile and that the sender’s

   failure to comply within 30 days is unlawful.

          40.       Defendants violated the TCPA by failing to state on the first page of

   each fax advertisement that their failure to comply with an opt-out request within

   30 days would be unlawful. Exhibit A, Exhibit B.

          41.       Facsimile advertising imposes burdens on recipients that are distinct

   from the burdens imposed by other types of advertising. The required opt-out notice

   provides recipients the necessary information to opt-out of future fax transmissions,

   including a notice that the sender’s failure to comply with the opt-out request will

   be unlawful. 47 C.F.R. § 64.1200 (a) (4).

          42.       Defendants’ failure to include a compliant opt-out notice on their fax

   advertisements makes irrelevant any express consent or established business

   relationship (“EBR”) that otherwise          might have     justified Defendants’ fax

   advertising campaigns. 47 C.F.R. § 64.1200 (a) (4).

          43.       The TCPA is a strict liability statute and Defendants are liable to

   Plaintiff and the other class members even if their actions were negligent. 47 U.S.C.

   § 227 (b) (3).




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          44.      Even if Defendants did not intend to injure Plaintiff and the other

   class members, did not intend to violate their privacy, and did not intend to waste

   their valuable time with Defendants’ advertisements, those facts are irrelevant

   because the TCPA is a strict liability statute.

          45.      If Defendants’ actions were knowing or purposeful, then the Court has

   the discretion to increase the statutory damages up to 3 times the amount. 47

   U.S.C. § 227 (b) (3).

          46.      PIP is liable for the fax advertisements at issue because it sent the

   faxes, caused the faxes to be sent, participated in the activity giving rise to or

   constituting the violation, the faxes were sent on its behalf, or under general

   principles of vicarious liability, including actual authority, apparent authority and

   ratification.

          47.      Defendants knew or should have known that Plaintiff and the other

   class members had not given express invitation or permission for Defendants or

   anybody else to fax advertisements about Defendants’ goods, products, or services,

   that Plaintiff and the other class members did not have an established business

   relationship with Defendants, that Exhibit A and Exhibit B are advertisements,

   and that Exhibit A and Exhibit B did not display a compliant opt-out notices as

   required by the TCPA.

          48.      Defendants’ actions damaged Plaintiff and the other class members.

   Receiving Defendants’ junk faxes caused the recipients to lose paper and toner

   consumed in the printing of Defendants’ faxes. Moreover, the subject faxes used the




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   fax machines of Plaintiff and the other class members. The subject faxes cost

   Plaintiff time, as Plaintiff and its employees wasted their time receiving, reviewing

   and routing Defendants’ illegal faxes. That time otherwise would have been spent

   on Plaintiff’s business activities. Defendants’ faxes unlawfully interrupted Plaintiff

   and the other class members’ privacy interests in being left alone. Finally, the

   injury and property damage sustained by Plaintiff and the other class members

   from the sending of unlawful fax advertisements occurred outside Defendants’

   premises.

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly

   situated, demands judgment in its favor and against Defendants, jointly and

   severally as follows:

         A.     That the Court adjudge and decree that the present case may be

   properly maintained as a class action, appoint Plaintiff as the representative of the

   class, and appoint Plaintiff’s counsel as counsel for the class;

         B.     That the Court award $500.00 in statutory damages for each violation

   of the TCPA;

         C.     That, if it finds Defendant(s) willfully or knowingly violated the

   TCPA’s faxing prohibitions, the Court exercise its discretion to increase the amount

   of the statutory damages award to an amount equal to not more than 3 times the

   amount (Plaintiff requests trebling);

         D.     That the Court enter an injunction prohibiting Defendants from

   violating the TCPA; and




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          E.     That the Court award costs and such further relief as the Court may

   deem just and proper.

                                      COUNT II
                                     CONVERSION


          49.    Plaintiff incorporates by reference all preceding paragraphs as though

   fully set forth herein.

          50.    Plaintiff brings Count II on behalf of itself and a class of similarly

   situated persons and against Defendants.

          51.    By sending advertisements to their fax machines, Defendants

   improperly and unlawfully converted the class’s fax machines to Defendants’ own

   use. Where printed (as in Plaintiff’s case), Defendants also improperly and

   unlawfully converted the class members’ paper and toner to Defendants’ own use.

   Defendants also converted Plaintiff’s time to Defendants’ own use, as they did with

   the valuable time of the other class members.

          52.    Immediately prior to the sending of the unsolicited faxes, Plaintiff and

   the other class members each owned an unqualified and immediate right to

   possession of their fax machines, paper, toner, and employee time.

          53.    By   sending   them    unsolicited   faxes,   Defendants   permanently

   misappropriated the class members’ fax machines, toner, paper, and employee time

   to their own use. Such misappropriation was wrongful and without authorization.

          54.    Defendants knew or should have known that their misappropriation of

   paper, toner, and employee time was wrongful and without authorization.

          55.    Plaintiff and the other class members were deprived of the use of the


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   fax machines, paper, toner, and employee time, which could no longer be used for

   any other purpose. Plaintiff and each class member thereby suffered damages as a

   result of their receipt of unsolicited fax advertisements from Defendants.

         56.    Defendants’ unsolicited faxes effectively stole Plaintiff’s employees’

   time because persons employed by Plaintiff were involved in receiving, routing, and

   reviewing Defendants’ illegal faxes. Defendants knew or should have known

   employees’ time is valuable to Plaintiff.

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly

   situated, demands judgment in its favor and against Defendants, jointly and

   severally as follows:

         A.     That the Court adjudge and decree that the present case may be

   properly maintained as a class action, appoint Plaintiff as the representative of the

   class, and appoint Plaintiff’s counsel as counsel for the class;

         B.     That the Court award appropriate damages;

         C.     That the Court award punitive damages;

         D.     That the Court award attorney’s fees;

         E.     That the Court award costs of suit; and

         F.     That the Court award such further relief as it may deem just and

   proper under the circumstances.




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                                     Respectfully submitted,

                                     COMPREHENSIVE HEALTH CARE
                                     SYSTEMS, INC., a Florida Corporation,
                                     individually and as the representative of a
                                     class of similarly-situated persons

                                     By: /s/ Phillip A. Bock

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